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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 MICHAEL LOMAX,

         Plaintiff,
                v.                                             No. 20-cv-55-RC-ZMF
 COMMISSIONER OF SOCIAL
 SECURITY,

         Defendant.




                            REPORT AND RECOMMENDATION

       Plaintiff Michael Lomax moves for reversal of the Commissioner of Social Security’s

decision adopting the findings of an Administrative Law Judge (“ALJ”) and denying his

application for Supplemental Security Income and Social Security Disability Insurance. See ECF

No. 18 (Pl.’s Mot. J. Rev.) at 1. Mr. Lomax claims the ALJ’s decision relied on three errors: (1)

that the ALJ failed to adequately consider the limitations arising from the side effects of Mr.

Lomax’s prescription medications, see Pl.’s Mot. J. Rev. at 9–12; (2) that in determining the extent

of Mr. Lomax’s limitations, the ALJ improperly discounted the testimony of Arsiema Yeibio, a

community support worker, see id. at 12–15; (3) that the hypothetical question the ALJ posed to a

vocational expert (“VE”) did not account for Mr. Lomax’s limitations, and therefore the ALJ’s

reliance on the VE’s testimony was improper, see id. at 16–17. The undersigned recommends this

Court grant Mr. Lomax’s motion for a judgment of reversal and remand this matter for further

proceedings.




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I.     BACKGROUND

       A.      Statutory Framework

       The Social Security Administration (“SSA”) determines a person is disabled if he is unable

“to do any substantial gainful activity by reason of any medically determinable physical or mental

impairment which can be expected to result in death or which has lasted or can be expected to last

for a continuous period of not less than 12 months.” 20 C.F.R. § 404.1505(a).

       The SSA utilizes a five-step sequential evaluation process for determining whether a

claimant is disabled. See AR 16; 20 C.F.R. § 404.1520(a). The claimant bears the burden at each

of the first four steps. See Butler v. Barnhart, 353 F.3d 992, 997 (D.C. Cir. 2004) (citing 20 C.F.R.

§§ 404.1520, 416.920). At step one, the claimant must demonstrate he is not presently engaged in

“substantial gainful activity.” 20 C.F.R. §§ 404.1520(b), 416.920(a). At step two, the claimant

must show that he has a “severe” medically determinable impairment that “significantly limits

[his] ability to perform basic work activities.” Id. §§ 404.1520(b), 416.920(b). At step three, the

claimant is determined disabled if his impairment meets or equals the criteria of an impairment

listed in the SSA Commissioner’s regulations. See id. §§ 404.1520(c), 416.920(c). If the

claimant’s impairment does not meet or equal a listed impairment, the ALJ proceeds to step four,

at which he determines whether the claimant’s residual functional capacity (“RFC”) allows for

performance of the claimant’s past relevant work. See id. 404.1520(d)–(f). If not, then at step

five, the Commissioner looks to the claimant’s RFC, age, and education to determine if he can

perform other work in the national economy. See id. §§ 404.1520(g)–(h), 404.1560(c).

       B.      Factual Background

       Mr. Lomax, a 55 year-old man, see AR 41, has been limited by bipolar disorder, depression

and psychotic symptoms including auditory hallucinations since at least 2015. At an August 12,



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2015, appointment at Family Matters of Greater Washington, Mr. Lomax reported that he had been

previously diagnosed with depression, see ECF No. 15 (Administrative Record) at 572,1 and that

he felt sad most days, see AR 570. He also reported that “he hears ‘voices’ in his head.” AR 572.

On March 24, 2016, Mr. Lomax visited the D.C. Dept. of Behavioral Health where Dr. Umar

Rahman diagnosed him with bipolar disorder. See AR 670. At an April 21, 2016, examination,

Dr. Rahman found that “bipolar disorder with psychosis” prevented Mr. Lomax from working.

AR 684–85. Drug treatment discharge records from May 26, 2016, indicate Mr. Lomax had

continuing problems with schizophrenia, depressive disorder, and mood disorder. See AR 912–

13.

       On June 23, 2016, State Agency Psychological Consultant Patricia Cott, Ph.D. evaluated

Mr. Lomax’s claimed disability due to depression, bipolar disorder, and mood disorder. See AR

87, 92. After considering his limitations, Dr. Cott found that Mr. Lomax “can understand and

remember simple instructions, [and] can carry out tasks for a full standard work week with

adequate pace and attention.” AR 95.

       At a July 12, 2016, appointment with the D.C. Dept. of Behavioral Health, Mr. Lomax’s

diagnosis included that his bipolar disorder was “severe with psychotic features.” AR 984.

       SSA consultative examiner James Arnold, Ph.D. evaluated Mr. Lomax on February 2,

2017. See AR 1021. Arnold found that Mr. Lomax’s “attention and concentration were impaired,”

and that he suffered “emotional distress resultant to [his] current psychiatric disorder.” AR 1024–

25. Dr. Arnold diagnosed Mr. Lomax with polysubstance dependency and major depressive

disorder. See AR 1027.



1
 The Administrative Record (“AR”) is filed on the Court’s electronic docket in eleven parts at
ECF No. 15-1 through ECF No. 15-12. For ease of reference, citations to the AR will refer to the
page numbers provided in the lower right-hand corner of each page.
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        State Agency Reviewing Psychologist Gemma Nachbahr, Ph.D., evaluated Mr. Lomax on

March 23, 2017, as part of the reconsideration of his disability determination. See AR 110. Dr.

Nachbahr’s findings largely mirrored Dr. Cott’s, and she determined that Mr. Lomax had a

“moderate” impairment in his ability to understand, remember, or apply information, interact with

others, concentrate, persist or maintain pace, as well as in his ability to adapt and manage himself.

See id. Dr. Nachbahr’s finding regarding Mr. Lomax’s ability to work was identical to Dr. Cott’s.

See AR 94, 114.

        At a February 5, 2018, appointment with Pathways to Housing, Mr. Lomax reported

increased depression and that he was hearing non-command auditory hallucinations. See AR 1238.

At a July 16, 2018, appointment he reported “answering and talking to” “more voices.” AR 1234.

By a March 22, 2019, appointment Mr. Lomax’s depressive symptoms and auditory hallucinations

had intensified, making it harder for him to keep himself organized and to stay on task. See AR

1305.

        At his April 18, 2019, hearing before the ALJ, Mr. Lomax reported that he continued to

receive treatment for bipolar disorder, seeing a psychiatrist once a month and visiting a therapist

once a month. See AR 53. Mr. Lomax reported being sad and depressed “at least four days” per

week and that he continued to hear voices on a “regular basis.” AR 61–⁠62.

        Mr. Lomax has been prescribed psychiatric medications as a result of his diagnosed

disorders. On August 12, 2015, he reported taking Trazadone and Seroquel. See AR 570. Mr.

Lomax reported being fatigued, and the examining physician noted: “unclear if this is due to the

medications, which he reports make him feel very drowsy.” AR 570. On March 24, 2016, Dr.

Rahman found that Mr. Lomax’s depression was somewhat stabilized by his prescriptions for

Seroquel, Trazadone, and Prozac. See AR 676. Records from Mr. Lomax’s February 2017



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examination by Dr. Arnold indicate that “[h]e appeared to be exhausted” and “[h]is eyelids were

drooping throughout the evaluation.” AR 1024.

       On March 29, 2017, Mr. Lomax reported that he usually slept eight hours during the night

and four hours during the day, and that he had reduced his morning Seroquel dose because it made

him “too sleepy.”2 AR 1262. Mr. Lomax said he felt calmer when on medication, and that he

became “antsy/jittery” when not taking his medication. Id. By May 3, 2017, Mr. Lomax had

stopped using Seroquel because of problems with weight gain but was given an increased dose of

Trazodone because of his trouble sleeping. See AR 1256. In September 2017, Mr. Lomax reported

difficulty sleeping and sluggishness during the day, but that his medication was helpful to him

overall. See AR 1253. On November 22, 2017, Mr. Lomax again reported being tired during the

day, but the doctor suggested “it likely is because he has been taking the Rexulti during the day

rather than at bedtime.” AR 1241. On July 16, 2018, Mr. Lomax reported increased daytime

sedation, but that he could not sleep without taking Trazadone. See AR 1234. On September 10,

2018, Mr. Lomax reported that he had sometimes limited his medication because of concern over

daytime sedation when he needed to make it to appointments. See AR 1231. He said he was

otherwise compliant with his prescriptions, taking Wellbutrin, Topamax, Gabapentin, Abilify, and

Trazadone at bedtime. See id. In December 2018, Mr. Lomax reported to Dr. Alexis Wesley that

he was “intermittently compliant with his psychiatric medication due to concern about erectile

dysfunction.” See AR 1264. Mr. Lomax said that he would only sleep well while taking Trazadone

but also remain fatigued during the day. See id. Dr. Wesley noted that Mr. Lomax “realized he




2
 Mr. Lomax again reported sleeping for eight hours at night and four hours during the daytime on
September 10, 2018. See AR 1231.
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was still taking Trazadone 300mg qhs despite being switched to Trazadone 150mg qhs” and agreed

to try a reduced dose. See id.

       Mr. Lomax discussed his medications and their effects in detail at his April 18, 2019,

hearing. Mr. Lomax could not recall the names of his medications, but said that he became

“drowsy, sleepy, and dizzy” when taking them. AR 54–55. Mr. Lomax said that he typically slept

for hours during the daytime to cope with his medication-induced drowsiness.3 See AR 62–63.

He also said that dizziness arising from his medication often caused things to “spin around,” and

would last for “[a]t least an hour or two.” AR 64.

       Mr. Lomax has also struggled with addiction and substance abuse. In August 2015, Mr.

Lomax reported using alcohol, PCP, and cocaine for 30 years, with some periods of sobriety. See

AR 572. The examining physician wrote that “it is difficult to know if the psychotic symptoms

are related to the substance use or an actual symptom of a mental health disorder.” Id. As of

December 8, 2015, Mr. Lomax “continue[d] to engage in severe substance use,” but “agreed to

take himself back to drug treatment.” AR 579. From February 26, 2016, to May 26, 2016, Mr.

Lomax was in inpatient drug treatment. See AR 912. At a July 16, 2018, medical appointment

Mr. Lomax “admitted to relapsing on cocaine and PCP around one month ago, ‘just once.’” AR

1234. At his April 18, 2019 hearing Mr. Lomax claimed he was two years sober. See AR 60.

       The record also includes a statement from Arsiema Yeibio, a Licensed Independent

Clinical Social Worker. See AR 378. Ms. Yeibio began working with Mr. Lomax in March 2017,

and had known him for two years. See id. Ms. Yeibio said that she “interact[ed] with Mr. Lomax

about two or three times a month,” helping him in “maintaining his public benefits, addressing his




3
  On multiple occasions in his medical records, Mr. Lomax reported sleeping four hours during
the daytime. See e.g., AR 1231, 1262.
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housing needs, supporting his Activities of Daily living, coordinating medical and psychiatric

appointments, and providing support/education around his medical needs and substance abuse

recovery.” Id. Ms. Yeibio noted Mr. Lomax’s difficulty with anger and irritability as well as

concentration and memory, stating he “would not be able to maintain a regular work schedule . . .

without significant accommodations and support.” Id.

       In his disability application, Mr. Lomax said that he had not worked since 2015. See AR

331. He reported working as a laborer moving construction debris from 2014–15, as a laborer for

a temp agency from 2010–15, and as a grocery clerk from 2009–10 and 1988–99. See AR 331–

35. His income records and testimony also indicated past work as a dining room attendant and

dishwasher. See AR 49–51, 268–69.

       C.      Procedural Background

       Mr. Lomax applied for Social Security Disability Insurance and Supplemental Security

Income on May 11 and 12, 2016, respectively. See AR 15. Mr. Lomax claimed eligibility under

an alleged disability beginning on May 11, 2015. See id.; see also AR 250. Mr. Lomax listed

depression, bipolar disorder, and mood disorder as the conditions limiting his ability to work. See

AR 280. On June 23, 2016, SSA denied Mr. Lomax’s initial application. See AR 85. On March

24, 2017, the SSA denied his request for reconsideration. See AR 170.

       On April 19, 2017, Mr. Lomax filed a request for a hearing before an ALJ. See AR 173.

Mr. Lomax wrote: “my symptoms are getting worst [sic], I can’t function in the community like a

normal person and my medication keep [sic] me down all day.” AR 174.

       On April 18, 2019, Mr. Lomax appeared before ALJ Henry Kramzyk. See AR 36. During

the hearing, the ALJ and Mr. Lomax’s attorney asked Mr. Lomax about his medical condition,




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side effects from medication, work history, lifestyle, and drug use. See AR 40–65. The ALJ then

asked the VE a hypothetical question to assess Mr. Lomax’s ability to find work:

              I want you to assume a hypothetical Claimant of the same age,
              education, and work experience as the Claimant, who has the ability
              to lift, carry, push, pull up to 20 pounds occasionally and ten pounds
              frequently, sit for a total of up to six hours a day, and stand and/or
              walk for a total of up to six hours a day. This hypothetical individual
              can never climb ladders, ropes, or scaffolds, can never crouch,
              kneel, or crawl. This hypothetical individual is able to understand,
              remember, and carry out short, simple, routine instructions. Is able
              to sustain attention and concentration for two-hour periods at a time
              and for eight hours in the workday, on short, simple, routine
              instructions. Can use judgment in making work decisions related to
              short, simple, routine instructions. Requires an occupation with only
              occasional co-worker contact and supervision. Requires an
              occupation with set, routine procedures and instructions and few
              changes during the workday. Requires an occupation where there’s
              only occasional contact with the public on routine matters. Can do
              work with below-average work-production pressures and maintain
              regular attendance and be punctual within customary tolerances and
              can perform activities within a schedule. In addition, this
              hypothetical individual cannot do any driving of vehicular
              equipment.

AR 68–69. The VE testified that such an individual could perform Mr. Lomax’s past employment

as a dishwasher or dining room attendant, and that he could perform other work as an assembler,

hand packager, or inspector. See AR 69. In a second hypothetical, the ALJ asked the VE whether

a similar individual who was absent from work one day a week could find any past or other work.

See AR 69–70. The VE testified that such an individual could not. See AR 70. On examination

by Mr. Lomax’s attorney, the VE testified that an individual in the first hypothetical who needed

to be off task for 15% of the workday, would miss two days of work per month, or would be late

by five minutes two days a month could not find past or other work. See AR 70–71.

       On May 16, 2019, the ALJ denied Mr. Lomax’s claim. See AR 29. The ALJ found in Mr.

Lomax’s favor at steps one and two. See AR 17–18. At step three, the ALJ determined that Mr.



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Lomax did not have an impairment that met the severity of a listed impairment in 20 C.F.R. Part

404, Subpart P, Appendix 1. See AR 18.

       Having found that Mr. Lomax did not have a severe limitation under step three, the ALJ

considered his RFC. See AR 20–27. The ALJ found that Mr. Lomax could perform “light work”

with certain physical limitations. AR 20. The ALJ also determined that Mr. Lomax was able to

“understand, remember, and carry out short, simple routine instructions; sustain attention and

concentration for two-hour periods at a time and eight hours during the workday on such

instructions; and use judgment in making work decisions related to such instructions,” and could

“maintain regular attendance, be punctual within customary tolerances, and perform activities

within a schedule.” AR 20–21. In evaluating Mr. Lomax’s claims, the ALJ found that Mr.

Lomax’s “allegations regarding the severity of his symptoms [were] inconsistent with the objective

medical evidence of record.” AR 22. The ALJ determined that some symptoms were likely the

result of Mr. Lomax’s use of PCP and not his mental disorder. See AR 23–24. The ALJ found

that Mr. Lomax’s testimony about his daily life was incompatible with his testimony about the

severity of his symptoms. See AR 24. In considering the psychiatric evidence available, the ALJ

gave some weight to reports by Patricia Cott, Ph.D., Gemma Nachbahr, Ph.D., and James Arnold,

Ph.D. See AR 25–26. The ALJ gave little weight to the statement of Dr. Umar Rahman and

Arsiema Yeibio. See AR 26.

       Based on his determination of Mr. Lomax’s RFC and on the VE’s testimony, the ALJ found

in step four that Mr. Lomax could perform past work as a dishwasher and dining room attendant.

See AR 27. At step five, the ALJ found in the alternative that Mr. Lomax could perform other

work including as an assembler, hand packager, and inspector. See AR 28–29. In light of these




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determinations, the ALJ determined that “a finding of ‘not disabled’ [was] therefore appropriate.”

AR 29.

         On June 12, 2019, Mr. Lomax filed a request for review by the SSA Appeals Council. See

AR 247–49. The Council denied review on November 7, 2019. See AR 1.

         On January 9, 2020, Mr. Lomax filed a civil complaint seeking review of the SSA’s

determination that he was not disabled. See ECF No. 1 (Compl.) at 1. The Commissioner filed an

answer on April 28, 2020. See ECF No. 14 (Answer) at 1. On April 30, 2020, United States

District Judge Rudolph Contreras assigned this case to a Magistrate Judge for full case

management. See ECF No. 17 (Ord. Referring Case to U.S. Mag. Judge for Full Case Mgmt.).

Pending now are Mr. Lomax’s Motion for Judgement of Reversal and the Commissioner’s Motion

for a Judgment of Affirmance. See Pl’s Mot. J. Rev.; ECF No. 19 (Def.’s Mot. J. Affirmance).

II.      LEGAL STANDARD

         A district court sits in what is essentially an appellate role when it reviews the

Commissioner’s disability determination, which must stand “if it is based on substantial evidence

in the record and correctly applies the relevant legal standards.” Butler, 353 F.3d at 999. The

plaintiff bears the burden of showing that the decision was not supported by substantial evidence,

or tainted by legal error. See Lane-Rauth v. Barnhart, 437 F. Supp. 2d 63, 64 (D.D.C. 2006).

         In reviewing the ALJ’s factual findings, a court does not “determine [for itself] whether

[claimant] is disabled.” Butler, 353 F.3d at 999. “[S]ubstantial-evidence review is highly

deferential to the agency fact-finder.” Mitchell-Jenkins v. Colvin, 86 F. Supp. 3d 5, 9 (D.D.C.

2015) (quoting Rossello ex. Rel. Rossello v. Astrue, 529 F.3d 1181, 1185 (D.C. Cir. 2008)). It

requires only that the decision was based on evidence “a reasonable mind might accept as adequate

to support a conclusion.” Butler, 353 F.3d at 999 (quoting Richardson v. Perales, 402 U.S. 389,



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401 (1971)). Particular deference is due to the ALJ’s credibility determinations and the weight

given to the evidence. See Goodman v. Colvin, 233 F. Supp. 3d 88, 104 (D.D.C. 2017) (quoting

Crosson v. Shalala, 907 F. Supp 1, 3 (D.D.C. 1995)) (“The reviewing court may neither reweigh

the evidence presented to it nor replace the Commissioner's judgment ‘concerning the credibility

of the evidence with its own.’”). But this deference requires that the ALJ build a “logical bridge”

between the evidence and his conclusions so that this Court may “assess the validity of the agency's

ultimate findings and afford a claimant meaningful judicial review.” Lane-Rauth, 437 F. Supp. 2d

at 67 (quoting Scott v. Barnhart, 297 F.3d 589, 595 (7th Cir. 2002)).

       If the ALJ is found to have applied the correct legal standards and met the substantial

evidence threshold, the reviewing court may grant the Commissioner’s motion for an affirmance

of the disability determination. See, e.g., Hicks v. Astrue, 718 F. Supp. 2d 1, 17 (D.D.C. 2010). If

a court finds error in an ALJ’s determination that a claimant was not disabled, it may reverse and

remand, requiring the SSA to conduct further proceedings consistent with the law or to hold a new

hearing. See, e.g., Jackson v. Barnhart, 271 F. Supp. 2d. 30, 38 (D.D.C. 2002); Simms v. Sullivan,

877 F.2d 1047, 1053 (D.C. Cir. 1989). An error is harmless and does not require reversal when it

is “clear from the record that the ALJ’s error was inconsequential to the ultimate nondisability

determination.” Davis v. Berryhill, 272 F. Supp. 3d 154, 180 (D.D.C. 2017) (quoting Tommasetti

v. Astrue, 533 F.3d 1035, 1038 (9th Cir. 2008)) (internal quotation marks omitted). If the factual

record is fully developed and the court determines the proper legal standard requires a finding of

disability, it may remand with an instruction to award benefits. See, e.g., Martin v. Apfel, 118 F.

Supp. 2d 9, 18–⁠19 (D.D.C. 2000).




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III.    ANALYSIS

        A.     The ALJ’s Consideration of Mr. Lomax’s Medication Side Effects

                       Legal Standard

        The SSA “will consider . . . how [claimant’s] functioning may be affected by factors

including, but not limited to, chronic mental disorders, structured settings, medication, and other

treatment.” 20 C.F.R. § 404.1520a(c)(1) (emphasis added). Consideration of the “side effects of

medication” applies to both the assessment of functional limitation and the “RFC assessment.”

See id. at 404.1520a(c); SSR 96-8P, 1996 SSR LEXIS 5.

        A reviewing court must examine whether the ALJ “has analyzed all evidence and has

sufficiently explained the weight he has given to obviously probative exhibits.” Simms, 877 F.2d

at 1050 (quoting Stewart v. Sec’y of HEW, 714 F.2d 287, 290 (3d Cir. 1983)). The ALJ “must at

least minimally discuss a claimant’s evidence that contradicts the Commissioner’s position.”

Lane-Rauth, 437 F. Supp. 2d at 67 (quoting Godbey v. Apfel, 238 F.3d 803, 808 (7th Cir. 2000)).

When medication side effects are “squarely placed before” an ALJ, the record should reflect

“which side effects he considered, to what extent he considered them, or how he considered them.”

Flores v. Massanari, 19 Fed. App’x 393, 399–400 (7th Cir. 2001). An ALJ’s failure to consider

relevant side effects, including fatigue, requires remand. See, e.g., Martin, 118 F. Supp. 2d at 18–

19.

                       Analysis

                       a.      The Step Three Analysis

        A claimant can qualify under listing 12.04 (depressive, bipolar, or related disorders) if he

has an “extreme limitation of one, or marked limitation of two, of the following areas of mental

functioning.    1. Understand, remember, or apply information.           2. Interact with others.



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3. Concentrate, persist, or maintain pace. 4. Adapt or manage oneself.” 20 C.F.R. Part 404,

Subpart P, Appendix 1 (citations omitted).

       The ALJ found that Mr. Lomax had did not have any marked or extreme limitations, but

faced only moderate limitations in each of the four areas of functioning. See AR 19–20. Yet, the

ALJ’s only mention of Mr. Lomax’s medications was the note that “the claimant admitted his

medication was helping with social interactions.” AR 19.        The SSA claims, nevertheless, that

because the ALJ afforded the opinion of Ms. Yeibio little weight and attributed the side effects to

factors other than Mr. Lomax’s medication, the ALJ provided substantial evidence for his findings

in step three. See Def’s Mot. J. Affirmance at 18. But the record provides no support for the

proposition that the “ALJ correctly explained that [Mr. Lomax’s] side effects were not primarily

attributed to [his] proper use of medication.” Id. (citing AR 19, 21, 24). The following citations

fail to support the SSA’s claim:

       -   AR 19 can only be interpreted to refer to the brief mention of the beneficial effect of

           medication in the step three analysis.         But the regulations require the separate

           consideration of a medication’s effectiveness and its side effects. See 20 C.F.R. §§

           404.1529(c)(3)(iv), 416.929(c)(3)(iv)).

       -   AR 21 only looks to the intended effects, as the ALJ noted that that Mr. Lomax “had

           not experienced significant problems interacting with others since he had been placed

           on medication.”

       -   AR 24 reflects that the ALJ noted that Mr. Lomax’s “current medication regime has

           been successful in managing his mental health symptoms.”

       When a claimant directly testifies regarding the impact of medication side effects on his

ability to work, “an ALJ’s duty to develop a full record can include investigating the side effects.”



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Walker v. Comm’r of Soc. Sec., 404 Fed. App’x 362, 366 (11th Cir. 2010). This court has held

that an ALJ committed an “obvious violation of his obligation” when he failed to consider a

claimant’s uncontradicted testimony that her medication made “her sleep for three hours each

day.” Martin, 118 F. Supp. 2d at 15–16. Similarly, the ALJ’s decision here did not address the

impact of Mr. Lomax’s side effects, and therefore failed to consider the “cumulative effects” of

his treatment and underlying condition. Id.

       Mr. Lomax’s claimed side effects were relevant to the ALJ’s finding of a moderate

limitation in “concentrating, persisting, or maintaining pace.” Examples of this limitation include

a claimant’s ability to “[sustain] an ordinary routine and regular attendance at work; and [work] a

full day without needing more than the allotted number or length of rest periods during the day.”

20 C.F.R. Part 404, Subpart P, Appx. 1, § 12.00E3. In uncontradicted testimony, Mr. Lomax said

that his medications induced drowsiness that caused him to sleep for hours during the day. See

AR 62–63. Mr. Lomax also testified to dizziness from his medications that required him to rest or

lie down for “at least an hour or two.” See AR 64. The ALJ’s failure to address these claims with

respect to the limitation in concentrating, persisting, and maintaining pace was not

“inconsequential” to the disability determination and cannot be construed as harmless error. 4

Davis, 272 F. Supp. 3d at 180. “This failure on the part of the ALJ constitutes an obvious violation




4
  Mr. Lomax also argues that the finding of a moderate limitation in “interacting with others” was
impacted by the ALJ’s failure to properly consider medication side effects. See Pl’s Mot. J. Rev.
at 11. Mr. Lomax claimed “a detrimental shift in his mood” when he avoided taking medications
to attend morning appointments. Id. (citing AR 1231). Mr. Lomax argues that this evidence was
relevant to his ability to keep “social interactions free of excessive irritability.” Id. (citing 20
C.F.R. Part 404, Subpart P, Appx. 1, § 12.00E2). The ALJ’s failure to consider Mr. Lomax’s side
effects with respect to this limitation was harmless. Mr. Lomax did not raise the issue of self–
adjusting his medication in his testimony or in his application for a hearing. See AR 38–65, 174.
And Mr. Lomax has not argued why his changes in mood when not medicating should be construed
as an effect of his medication under 20 C.F.R. § 404.1520a.
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of his obligation to view [Lomax’s] situation . . . by understanding the interrelated consequences

to [him] of [his] physical and psychological problems and of the medication [he] had to take to

secure relief from them.” Martin, 118 F. Supp. 2d at 16.

                       b.      The RFC Analysis

       The ALJ was required by law to consider Mr. Lomax’s side effects when determining his

RFC. 20 C.F.R. §§ 404.1529(c)(3)(iv), 416.929(c)(3)(iv); SSR 16–13p, 2016 SSR LEXIS 4. Mr.

Lomax argues that the ALJ also inadequately considered medication side effects in the RFC

assessment, which constituted harmful legal error because it undermined the hypothetical posed to

the VE. See Pl’s Mot. J. Rev. at 11–12. Thus, the question is again whether the ALJ considered

the evidence of Mr. Lomax’s side effects in arriving at his findings.

       The SSA argues that Mr. Lomax’s drowsiness may have been the result not of his

medication but of taking more Trazadone than he was prescribed, see AR 1264, self-adjusting

Trazadone to avoid drowsiness, see AR 1256, 1241, 1238, 1234, and his history of drug abuse, AR

578–79. See Def’s Mot. J. Affirmance at 16-17. But the grounds proffered in the RFC analysis

are sparse with respect to medication side effects. The ALJ’s first mention of side effects is in his

summary of Mr. Lomax’s testimony, noting that “[Mr. Lomax] reported side effects associated

with his prescribed medications including dizziness, drowsiness, and sleepiness.”           AR 21.

Medications are only addressed again with reference to impact on Mr. Lomax’s symptoms:

       -   The ALJ determined that “further mental limitations” beyond those found in the RFC

           assessment were “not justified” because the “increase in medication has been

           successful in managing his mental health symptoms,” AR 23–24; and




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       -   The ALJ described Mr. Lomax’s documented history of substance abuse and his recent

           arrests in detail, noting that a finding of disability is not warranted if a claimant remains

           unemployed because of these factors. See AR 24.

       This record does not support the contention that the ALJ actually considered Mr. Lomax’s

claimed side effects in determining his RFC for four main reasons. Def’s Mot. J. Affirmance at

17. First, whereas at the outset of his analysis the ALJ mentioned Mr. Lomax’s “symptoms” and

“side effects” as separate elements of his claim, AR 21, the substantive discussion only mentions

“symptoms,” AR 23–25.         Second, regardless of whether the evidence of medication self-

adjustment and dosage referenced could possibly support the ALJ’s findings, this reasoning is

nowhere to be found in the opinion itself. See id. The Court “may only consider the grounds

proffered by the agency in its decision, as post hoc rationalizations will not suffice.” Clark v.

Astrue, 826 F. Supp. 2d 13, 20 (citing Butler, 353 F.3d at 1003 n.5). Third, while the ALJ briefly

discussed incarceration and substance abuse, he made no mention of their possible relation to Mr.

Lomax’s claimed side effects. AR 24. The ALJ, not the SSA in subsequent litigation, must build

the “logical bridge” between evidence and conclusions. See Lane-Rauth, 437 F. Supp. 2d at 67

(quoting Scott, 297 F.3d at 595). Fourth, the ALJ’s consideration of the positive effects of the

medication is not a substitute for side effects analysis. The regulations explicitly distinguish

between the “effectiveness” and “side effects” of medication. 20 C.F.R. §§ 404.1529(c)(3)(iv).

The ALJ’s conclusion that the medication “has been successful in managing [Mr. Lomax’s] mental

health symptoms” can only fairly be construed as considering the former. See AR 24.

                       c.      Remand to the ALJ for Consideration of Side Effects

       An ALJ has wide latitude in weighing the relevant evidence and reaching a determination

at each stage of the disability analysis. See Mitchell-Jenkins, 86 F. Supp. 3d. at 9. The ALJ had



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an extensive factual record upon which he might have relied in considering the credibility and

impact of Mr. Lomax’s claimed side effects. Perhaps the ALJ privately decided that Mr. Lomax’s

testimony regarding his side effects was not credible. But this Court lacks the powers of Professor

Charles Xavier to know. See X-MEN FIRST CLASS (Marvel Entertainment, 2011). The law requires

that the ALJ make clear his reasoning so that a reviewing court can “assess the validity of the

agency’s ultimate findings and afford a claimant meaningful judicial review.” Lane-Rauth, 437 F

Supp. 2d at 64. The ALJ has not done so here.

       Mr. Lomax’s claimed side effects were the basis for his request for a hearing before the

ALJ, see AR 173, and were thoroughly discussed during his testimony, see supra § I(B). The

ALJ’s failure to weigh the “obviously probative” evidence of Mr. Lomax’s side effects, see Simms,

877 F.2d at 1050, renders the disability determination unreliable at steps three, four, and five.

Because the ALJ’s mistake here left the factual record less than fully developed, reversal with an

instruction to award benefits would be inappropriate. Cf. Martin, 118 F. Supp. 2d at 18. Rather,

the SSA’s decision should be reversed and remanded with instructions to properly consider Mr.

Lomax’s detailed testimony and the extensive evidence in the record reflecting his medication side

effects, both at step three of the disability determination and in the RFC assessment. The ALJ may

reach the same conclusion as before, but must explain the assessment of all relevant evidence in

doing so.

       B.      The Low Weight Given to Yeibio’s Opinion

       “Medical opinions are statements from acceptable medical sources that reflect judgments

about the nature and severity of [a claimant’s] impairment(s).” 5 20 C.F.R. § 404.1527(a)(1).




5
 20 C.F.R. §§ 404.1527 and 416.927 detail the criteria an ALJ must follow when weighing
medical opinions involving a disability claim filed before March 27, 2017.
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Medical opinions are given weight based on: (1) the source’s examining relationship with the

claimant; (2) the source’s treatment relationship with the claimant; (3) the evidence provided to

support a source’s opinion; (4) the source’s opinion’s consistency with the record; (5) the source’s

specialization; and (6) other factors. See id. at 404.1527(c)(1)–(6). The ALJ may also consider

information from “other sources,” such as social workers, if it provides “insight into the severity

of the impairment(s) and how it affects the individual’s ability to function.” SSR 06-03p, 2016

SSR LEXIS 5. The ALJ should generally consider these opinions using the same six factors used

in weighing medical opinions. See 20 C.F.R. § 404.1527(f)(1). An ALJ may, however, give a

non-medical source’s opinion less weight because acceptable medical sources are “the most

qualified health care professionals.” SSR 06-03p, 2006 SSR LEXIS 5 (citing 65 FR 34955 (June

1, 2000)).

       An ALJ’s discretion is at its apex when weighing evidence and testimony. See Crosson,

907 F. Supp at 3.     The reviewing court may not “replace the [Commissioner’s] judgment

‘concerning the credibility of the evidence with its own.’” Crosson, 907 F. Supp. at 3. It must

instead simply determine whether the ALJ has “sufficiently explained the weight he has given to

obviously probative exhibits.” Simms, 877 F.2d at 1050 (quoting Stewart, 714 F.2d at 290). This

burden is met if the decision was based on evidence a “reasonable mind” might find adequate,

Butler, 353 F.3d at 999 (quoting Richardson, 402 U.S. at 401), and the ALJ formed a “logical

bridge” between that evidence and his conclusions, Lane-Rauth, 437 F. Supp. 2d at 67 (quoting

Scott, 297 F.3d at 595).

       Ms. Yeibio opined that Mr. Lomax “would not be able to maintain regular work schedule

without accommodation and support.” AR 26. In assessing this testimony, the ALJ wrote: “Little

weight is given to Ms. Yeibio because she is not an acceptable medical source. In addition, the



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claimant acknowledged in his testimony that he could concentrate and focus on tasks such as

utilizing public transportation, reading the Bible, using a computer, and using his smartphone.”

Id. Mr. Lomax incorrectly contends that the ALJ was required to give Ms. Yeibio’s opinion

significant weight because of her close treatment relationship to Mr. Lomax. See Pl’s Mot. J. Rev.

at 13.

          First, Mr. Lomax argues that giving Ms. Yeibio’s opinion “‘little weight . . . as she is not

an acceptable medical source’ . . . violated the standard set out in SSR 06-03p.” Pl’s Mot. J. Rev.

at 13 (quoting AR 26). To the contrary, the ruling explicitly allows the ALJ to give these sources

less weight. See SSR 06-03p, 2006 SSR LEXIS 5. “The fact that a medical opinion is from an

‘acceptable medical source’ is a factor that may justify giving that opinion greater weight than an

opinion from a medical source who is not an ‘acceptable medical source.’” Id. It was thus within

the ALJ’s discretion to rely more heavily on medical opinions as opposed to Ms. Yeibio.

          The analysis could have stopped there; however, the ALJ further explained the evidentiary

considerations informing his decision. See Simms, 877 F.2d at 1050. The ALJ found that Mr.

Lomax’s testimony regarding his ability to engage in daily activities as well as the beneficial

effects of his medication were inconsistent with her statement. See AR 26. “Generally, the more

consistent a medical opinion is with the record as a whole, the more weight we will give to that

medical opinion,” and vice versa. 20 C.F.R. 404.1527(c)(4). The ALJ gave greater weight to the

opinions of examiners Dr. Cott and Dr. Nachbahr, which were more consistent with the record.

See AR 25. Both determined Mr. Lomax could work. See id. The ALJ adequately articulated

“judgment concerning the credibility of [this] evidence.” Crosson, 907 F. Supp at 3.




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       C.      Adequacy of the ALJ’s Hypothetical Question

       The SSA may use vocational experts in step four “to obtain evidence . . . to help [the SSA]

determine whether [claimant] can do [his] past relevant work, given [his RFC].” 20 C.F.R.

§ 404.1560(b)(2). This SSA may also use this evidence at step five to determine whether a

claimant is able to obtain other work. 20 C.F.R. § 404.1560(c)(1). “In determining a claimant’s

ability to work, the ALJ ‘must accurately describe the claimant’s . . . impairments in any question

posed to the expert.’” Williams v. Shalala, 997 F.2d 1494, 1499 (D.C. Cir. 1993) (citing Simms,

877 F.2d at 1050). A hypothetical question must “encompass all relevant impairments.” Lockard

v. Apfel, 175 F. Supp. 2d 28, 31 (D.D.C. 2001) (quoting Hunt v. Masanari, 250 F.3d 622, 626 (8th

Cir. 2001)). The failure of a hypothetical to include relevant limitations “undermine[s] the

foundation for the expert’s ultimate conclusion that there are alternative jobs” and requires remand

to the SSA. See Butler, 353 F.3d at 1006 (quoting Simms, 877 F.2d at 1053).

       Mr. Lomax claims that the hypothetical question 6 did not reflect the ALJ’s step three

“finding that Mr. Lomax has at least moderate limitations in the [sic] concentration, persistence

and pace.” Pl’s Mot. J. Rev. at 17 (citing AR 20).7




6
   The hypothetical question, in relevant part, asked the VE to consider an individual who: “Is able
to sustain attention and concentration for two-hour periods at a time and for eight hours in the
workday, on short, simple, routine instructions. Can use judgment in making work decisions
related to short, simple, routine instructions. Requires an occupation with only occasional co-
worker contact and supervision. Requires an occupation with set, routine procedures and
instructions and few changes during the workday. Requires an occupation where there’s only
occasional contact with the public on routine matters. Can do work with below-average work-
production pressures and maintain regular attendance and be punctual within customary tolerances
and can perform activities within a schedule.” AR 68-69.
7
  It is important to disentangle this from Mr. Lomax’s first claim, in which he alleges proper
consideration of the evidence should have resulted in the ALJ finding a more-than-moderate
limitation in this domain. See Pl.’s Mot. J. Rev. at 11; supra § III(A)(2)(a). Here the claim is that
the hypothetical failed to reflect even the ALJ’s own determinations regarding Mr. Lomax’s
impairment.
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       This Court recently addressed the question of “whether the hypothetical limiting a

claimant's work to simple, routine, repetitive and unskilled tasks adequately accounts for a

claimant's moderate limitations in concentration, persistence, or pace.” Petty v. Colvin, 204 F.

Supp. 3d 196, 204 (D.D.C. 2016). The court in Petty found the instruction was inadequate because

it failed to distinguish between a plaintiff’s ability to complete certain work tasks and his ability

to stay on task, a concern more closely related to concentration, persistence, and pace. See id.

(citing Mascio v. Astrue, 780 F.3d 632, 638 (4th Cir. 2015) (“[T]he ability to perform simple tasks

differs from the ability to stay on task.”)). The Court remanded for the ALJ to either “explain why

Plaintiff's moderate limitations in concentration, persistence, or pace at step three do not translate

into a limitation in Plaintiff's [RFC]” or “explicitly or implicitly incorporate Plaintiff’s moderate

mental limitations and any potential affect they have on Plaintiff's ability to complete simple,

routine, repetitive and unskilled tasks for sustained periods of time.” Id. at 208.

       Petty, therefore, does not stand for the proposition that finding such a moderate limitation

requires a more limited hypothetical than the one used by the ALJ. Pl’s Mot. J. Rev. at 17. Rather,

the door remains open for the ALJ to “provide an explanation for why Plaintiff's mental limitations

at step three did not translate into more detailed limitations in his RFC.” Petty, 204 F. Supp 3d at

204. The nature of the explanation required is not discussed in Petty, see id., but several circuits

that have considered this question have held that an ALJ’s failure to include the restrictions Mr.

Lomax contends were necessary may be justified. “[W]hen medical evidence demonstrates that a

claimant can engage in simple, routine tasks or unskilled work despite limitations in concentration,

persistence, and pace, courts have concluded that limiting the hypothetical to include only

unskilled work sufficiently accounts for such limitations.” Winschel v. Comm'r of Soc. Sec., 631

F.3d 1176, 1180 (11th Cir. 2011). Moreover, the “ALJ is required only to incorporate into his



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hypotheticals those impairments and limitations that he accepts as credible.” Schmidt v. Astrue,

496 F.3d 833, 846 (7th Cir. 2007); see also Stubbs-Danielson v. Astrue, 539 F.3d 1169, 1173–74

(9th Cir. 2008) (holding that a hypothetical was appropriate if it reflected the ALJ’s credibility

determinations and assessment of the medical evidence). And while the D.C. Circuit has not

addressed this exact question, it has held that while an ALJ “must accurately describe the

claimant’s . . . impairments in any question posed to the expert,” Simms, 877 F.2d at 1050, the ALJ

has considerable latitude in reaching those factual determinations. Such determinations remain

subject to the “highly deferential” substantial evidence review. Rossello, 529 F.3d. at 1185.

       Here, the hypothetical question was appropriately explained by the ALJ’s credibility

determinations and assessment of the medical evidence. The ALJ’s finding of a moderate

limitation in concentration, persistence, and pace was based on the type of tasks he determined Mr.

Lomax could complete, not his ability to stay on task. See AR 20. The ALJ found that Mr. Lomax

was “capable of short, simple, and routine tasks and work that has a below average production

pace rate” based on his ability to complete household chores and to complete a “counting task”

during consultative examination. Id. The RFC assessment followed a similar and consistent logic.

See AR 25. The ALJ again considered Mr. Lomax’s performance in the consultative examination,

then noted the testimony (not discussed in the step three determination) from Dr. Cott and

Dr. Nachbahr finding that Mr. Lomax could “carry out tasks for a full standard work week with

adequate pace and attention [and] accept supervision for simple tasks.” Id.

       Thus, while the ALJ never directly addressed “why Plaintiff's mental limitations at step

three did not translate into more detailed limitations in his RFC,” Petty, 204 F. Supp 3d at 204, the

lack of further limitations in the hypothetical is explained by his stated grounds for the finding of

a “moderate” limitation in concentration, persistence, and pace and the additional findings laid out



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in the RFC assessment. See AR 20, 25. The evidentiary basis for the hypothetical is coherent to

a “reasonable mind,” Butler, 353 F.3d at 999 (quoting Richardson, 402 U.S. at 401), and the ALJ’s

analysis provides enough of a “logical bridge” between his factual findings and the hypothetical

to withstand substantial evidence review, Lane-Rauth, 437 F. Supp. 2d at 67 (quoting Scott, 297

F.3d at 595).

       This holding relates only to the adequacy of the hypothetical with respect to the ALJ’s

actual findings. It does not mean that the same hypothetical will necessarily suffice upon adequate

consideration of Mr. Lomax’s medication side effects.8 See supra § III(A)(2)(b).

IV.    RECOMMENDATION

       For the forgoing reasons, the undersigned recommends that the Court GRANT Plaintiff’s

Motion for a Judgement of Reversal only on the ground that the SSA failed to adequately consider

Mr. Lomax’s medication side effects, DENY Defendant’s Motion for a Judgement of Affirmance,

and REMAND this matter to the SSA for reconsideration of the step three analysis and Mr.

Lomax’s RFC in light of his claimed medication side effects.

V.     REVIEW BY THE DISTRICT COURT

       The parties are hereby advised that under the provisions of Local Rule 72.3(b) of the United

States District Court for the District of Columbia, any party who objects to this Report and

Recommendation must file a written objection thereto with the Clerk of this Court within 14 days

of the party’s receipt of this Report and Recommendation. The written objections must specifically

identify the portion of the report and/or recommendation to which objection is made, and the basis



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  Depending on the nature of any additional limitations, the SSA could rely on the VE’s already-
established testimony that the hypothetical individual could not find past or other work if he needed
to be off task for 15% of the workday, would miss two days of work per month, or would be late
by five minutes two days a month. See AR 70–71.


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for such objections. The parties are further advised that failure to file timely objections to the

findings and recommendations set forth in this report may waive their right of appeal from an order

of the District Court that adopts such findings and recommendation. See Thomas v. Arn, 474 U.S.

140, 144–45 (1985).



Dated: August 4, 2021



                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE




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